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a Geneyys SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

 

 

 

 

 

V2.8 ~
District of Ohio
Name (under which you were convicted): Docket or Case No.:
RYAN D. MALONE
Place of Confinement: U.S.P. McCreary, - Prisoner No.:
P.O. Box 3000, Pine Knot, KY 42635 30802-160

 

 

UNITED STATES OF AMERICA Movant (include name under which you were convicted}
= RYAN D. MALONE

 

 

 

MOTION

1, (a) Name and location of court that entered the judgment of conviction you are challenging:
United States District Court for the Northern District of Ohio
125 Market Street, Youngstown, OH 44503

(b) Criminal docket or case number (if you know): 1:14-cr-438
2. (a) Date of the judgment of conviction (if you know): November 21, 2016

(b) Date of sentencing: July 2, 2015 (petitioner was resentenced on 11/15/2016)

3. Length of sentence: 120 months
4. Nature of crime (all counts): Felon in Possession under 18 USC § 922(g)

5. (a) What was your plea? (Check one)
(1) Not guilty O (2) Guilty 4 (3) Nolo contendere (no contest)
{b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count

or indictment, what did you plead guilty to and what did you plead not guilty to?

N/A

6. If you went to trial, what kind of trial did you have? (Check one) Jury Q Judge only O

N/A
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7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes @ No O
8. Did you appeal from the judgment of conviction? Yes & No O
9. If you did appeal, answer the following: |

(a) Name of court: U.S. Court of Appeal for the Sixth Circuit

16-4347

(b) Docket or case number (if you know):
Judgment was affirmed

(c) Result:
(d) Date of result (if you know): September 12, 2017
(e) Citation to the case {if you know): Dont know.

(f) Grounds raised: Petitioner should not have been enhanced under USSG § 2K2.1
(B)(6)(B), and Sentence was unreasonable because the district court should
have departed downward the overrepesented criminal history.

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes O No ©
If "Yes," answer the following: N/A
(1} Docket or case number (if you know): N/A
(2) Result: . N/A
(3) Date of result (if you know): N/A
(4) Citation to the case (if you know): N/A
(5) Grounds raised: N/A

10. Other than the direct appeals listed above, have you previously filed any other motions,
petitions, or applications concerning this judgment of conviction in any court?
Yes No &
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: N/A
(2) Docket or case number (if you know):

(3) Date of filing (if you know): \ /A
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{4) Nature of the proceeding:
Pp Ing N/A

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or
application? Yes O Na Q N/A
(7) Result:

(8} Date of result (if you know):

(b) If you filed any second mation, petition, or application, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:

N/A
(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or
application? Yes O No QO
(7) Result: N/A
(8) Date of result Gf you know): .
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
motion, petition, or application?
(1) First petition: Yes QO No
(2) Second petition: Yes Q No Q

N/A
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(d) If you did not appeal from the action on any motion, petition, or application, explain briefly

why you did not: N/A

12. For this motion, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more

than four grounds. State the facts supporting each ground.

GROUND ONE: Appellate Counsel was ineffectiv e for failing to to argue that
petitioner was improperly enhanced under USSG § 2K2.1(a)(4)(A).

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See attached Brief.

(b) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes Q No @ I attempted to file a pro-se supplemental bnrief

(2) If you did not raise this issue in your direct appeal, explain why:
This issue: was not raised due to ineffective assistance of counsel.

{(c) Post-Conviction Proceedings:
{1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes O No O N/A
(2) If your answer to Question (c}(1) is “Yes,” state:
Type of motion or petition: N/A

Name and location of the court where the motion or petition was filed:
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Docket or case number (if you know): NWA
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes Q No Q N/A
(4) Did you appeal from the denial of your motion, petition, or application?
Yes Q No Q
{5} If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes QO No QO N/A
(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:
. N/A
Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

N/A

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue: N/A

GROUND TWO: Attorney was ineffective for failing to raise that petitioner
was improperly enhanced under USSG § 4A1.1(d) since his Ohio Post Release
control was voided by the State.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim):

See Attached Brief. -
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(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes O No¥® Attempted to raise it in a pro-se supplemtal brief.
(2) If you did not raise this issue in your direct appeal, explain why:

Tt was not raiesed due to ineffective assistance of counsel.

{c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes No O N/A
(2) If your answer to Question (c}(1) is “Yes,” state:
Type of motion or petition: N/A

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court's decision: N/A

Result (attach a-copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes No O

N/A .

(4) Did you appeal from the denial of your motion, petition, or application?

Yes Q No O
(5) If your answer to Question (c)(4) is “Yes," did you raise this issue in the appeal?

QO NoQO

Yes Qa WA

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision: N/A

Result (attach a copy of the court's opinion or order, if available):
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(7) If your answer to Question (c)(4) or Question (c}{5) is “No,” explain why you did not appeal or

raise this issue: N / A

GROUND THREE: WA

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

N/A

(b) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
YesO No QO N/A

(2) If you did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No QO
(2) If your answer to Question (c){1) is “Yes," stifA

Type of motion or petition:
Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

N/A

Date of the court's decision:
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Result (attach a copy of the court's opinion or order, if available):

N/A

(3) Did you receive a hearing on your motion, petition, or application?
YesseQ No QO

(4) Did you appeal from the denial of your motion, petition, or application?
Yes NoQO , N/A .

(5) If your answer to Question (c}(4) is “Yes,” did you raise this issue in the appeal?
YesO NoQ

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

N/A
Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's epinion or arder, if available);
nN/A

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

N/A

GROUND FOUR: N/A

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim,):

N/A
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(b) Direct Appeal of Ground Four: N/A
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes OQ No 2 .

(2) If you did not raise this issue in your direct appeal, explain why:

N/A

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes OQ No Q

(2) If your answer to Questian (c}(1) is “Yes,” state: N/A

Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know}:
N/A

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes Q NoQ N/A

(4) Did you appeal from the denial of your motion, petition, or application?
YesQ No Q

(5) If your answer to Question ({c)(4} is “Yes,” did you raise this issue in the appeal?
YesQ NoQ N/A

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

N/A

Docket or case number (if you know):. ©
Date of the court's decisian:

Result (attach a copy of the court's opinion or order, #Adailable):
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(7) If your answer to Question (c)(4) or Question (cj (5) is “Kio,” explain why you did not appeal or

N/A

raise this issue:

13. Is there any ground in this motion that you have not previously presented in some federal court?
If so, which ground or grounds have not been presented, and state your reasons for not

presenting them:

Petitioner.has attempted to raise both issues raised in this motion in
a pro-se supplemental brief to the Court of Appeals. The brief was not
accepted, so the issues have never been adjudicated.

14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court
for the judgment you are challenging? YesQ Now
If "Yes," state the name and location of the court, the docket or case number, the type of

proceeding, and the issues raised.

N/A

15. Give the name and address, if known, of each attorney who represented you in the following
Stages of the judgment you are challenging:

(a) At preliminary hearing:
(b) At arraignment and plea: Darin Thompson, Fed. Public Defender, 750 Skylight
Offic e Tower, 1660 W. Second Street, Cleveland, OH 44113

(c) At trial: The Same.

(d) At sentencing: The Same.
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(e) On appeal: Vanessa F. Malone, Fed. Public Defender, 700 Akron Center Plaza,
50 South MaIN Street, Akron, OH 44308

(if) In any post-conviction proceeding: N/A
(g) On appeal from any ruling against you in a post-conviction proceeding:

N/A

Were you sentenced on more than one count of an indictment, or on more than one indictment, in
the same court and at the same time? Yes OQ No ®
Do you have any future sentence ‘to serve after you complete the sentence for the judgment that
you are challenging? Yes QNo W
(a) If so, give name and location of court that imposed the other sentence you will serve in the
future:

N/A
(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence: N/A
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the ;
judgment or sentence to be served in the future? Yes Q No O .

N/A
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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you
must explain why the one-year statute of limitations as contained in 28 U.S.C..§ 2255 does-not
bar your motion.* This § 2255 petition is being filed within one year of
the decision of the Court of Appeals, therefore it is timely.

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA") as contained in 28 U.S.C,
§ 2255, paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period
shall run from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in
violation of the Constitution or laws of the United States is removed, if the movant was
prevented from making such a motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if
that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; or
(4) the date on which the facts supporting the claim or claims presented could have been
discovered. through the exercise of due diligence.
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Therefore, movant asks that the Court grant the following relief:

All of the relief requested in the attached brief, and any additional relief
that this court deems just and proper.

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on

(month, date, year),

Executed (signed) o n_|O-~ AY - \7 (date).

Ryan D. Matone
Signature of Movant

 

If the person signing is not movant, state relationship to movant and explain why movant is not

signing this motion.
